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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                  )      Case №: 1:21-CR-00181-1-DAD
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11    CESAR CASTRO,                              )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Douglas C. Foster be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to October 29, 2021, in place of AFD, Benjamin
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     Gerson who is leaving the Office of the Federal Defender in Fresno to accept a position with the
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22   Office of the Federal Defender in Las Vegas.

23          This appointment shall remain in effect until further order of this court.

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     IT IS SO ORDERED.
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26      Dated:     October 29, 2021
                                                        UNITED STATES DISTRICT JUDGE
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